            Case 3:11-cr-02706-DHB                        Document 73                Filed 04/27/12              PageID.181              Page 1 of 2

                                                                                                                                     FILED
     'AO 245B (CASD) (Rev. 1/12) Judgment in a Criminal Case
                Sheet 1
                                                                                                                                    ..               ..
                                                                                                                            CLERI'., -:J." Yo' ;';lCT COURT
                                              UNITED STATES DISTRICT COURT                                               SO   EAM !')ISTAIC::'.,. .~AUFORNfA
                                                                                                                         B                              ,)EPUlY
                                                                                                                                                 _ _ I. • • • • • • • ,   ......


                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                        v.                                          (For Offenses Committed On or After November 1,1987)

              JACQUELINE MARTINEZ-SANDOVAL [2]                                      Case Number: IICR2706-DHB
                                                                                    Frank M. Murphy III
                                                                                    Defendant's Attorney
     REGISTRATION NO. 25926298

     o
     TIIE DEFENDANT:
     181  pleaded guilty to count(s) I of the Superseding Information
     o     was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not gUilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                         Nature of Offense                                                                              Number(s)
8 USC 1324(a)(2)(A)                    BRINGING IN ILLEGAL ALIENS WITHOUT PRESENTATION (Misdemeanor)                                            I




        The defendant is sentenced as provided in pages 2 through _--:2__._ of this judgment. The sentence is imposed pursuant
  o
 to the Sentencing Reform Act of 1984.
      The defendant has been found not guilty on count(s)

  181 Count(s) Underlying Indictment                         ---------------------------------------------
                                                                          181         is        areD dismissed on the motion of the United States.
  181 Assessment: $10.00

  181 No fine                                        o Forfeiture pursuant to order filed ------------ , included herein.
        IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
  or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
  defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                                Apri124,2012
                                                                               Date oflmposition of Sentence




                                                                                                                                                11 CR2706-DHB
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AO 245B (CASD) (Rev. I112) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                            Judgment - Page   2     of       2
 DEFENDANT: JACQUELINE MARTINEZ-SANDOVAL [2]
 CASE NUMBER: llCR2706-DHB
                                                          IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         TIME SERVED



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:

    o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op.m.        on _ _ _ _ _ _ _ _ _ __
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before
                 ---------------------------------------------------------
       o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                             RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL


                                                                    By ________~~~~==~~~~~----------
                                                                                       DEPUTY UNITED STATES MARSHAL
